




Dismissed and Memorandum Opinion filed April 9, 2009








Dismissed
and Memorandum Opinion filed April 9, 2009.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00801-CV

____________

&nbsp;

OLUFEMI BABALOLA, Appellant

&nbsp;

V.

&nbsp;

CORE LABORATORIES, L.P. A/K/A THE ANDREWS GROUP, INT=L, INC. A/K/A SCOTT PICKFORD GROUP, AND JOE DOE, Appellees

&nbsp;



&nbsp;

On Appeal from the
11th District Court

Harris County,
Texas

Trial Court Cause
No. 2002-42080

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed July 8, 2008.&nbsp; On March 30, 2009, the parties
filed an agreed motion to dismiss the appeal because all issues have been
settled.&nbsp; See Tex. R. App. P.
42.1.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

&nbsp;

Panel consists of Justices Seymore, Brown, and Sullivan.





